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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

 UNITED STATES OF AMERICA,

 v.                                                    Case No. 8:22-cr-145-TPB-AAS

 RICHARD ALLEN RANDOLPH,

        Defendant.
                                        /

      ORDER GRANTING GOVERNMENT’S MOTION IN LIMINE TO PRECLUDE
         TESTIMONY OF DEFENSE EXPERT WITNESS DAVID FAIGMAN

        This matter is before the Court on the United States of America’s “Motion in

 Limine to Preclude Testimony of Defense Expert Witness David Faigman,” filed on

 March 15, 2024. (Doc. 76). Defendant Richard Allen Randolph filed a response in

 opposition on March 22, 2024. (Doc. 80). The Court held a hearing to address the

 motion on April 10, 2024, that included sworn testimony from the proposed expert

 witness. (Doc. 113). On April 12, 2024, the Court entered an order granting the

 Government’s motion, indicating that a written order would follow. (Doc. 115).

 This Order memorializes and explains the Court’s ruling. Upon review of the

 motion, response, argument, evidence, court file, and record, the Court finds as

 follows:

                                    Background

        This case involves four separate armed robberies that allegedly took place

 between January 27, 2020, and February 26, 2020, in Tampa, Florida. Based on

 these events, a federal grand jury returned an eight-count indictment against




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 Defendant: four counts related Hobbs Act robberies and four corresponding counts

 related to a firearm allegedly used in the course of the robberies.

        In January and February of 2020, four local businesses were robbed: J-Lo

 Beauty Supply, Citgo Food Market, Annie Nails, and Family Dollar. Based on the

 circumstances, law enforcement suspected that one individual committed these four

 robberies. At each robbery, as confirmed by security videos, the individual entered

 the stores wearing a dark hoodie to disguise his face and gloves (in two of the

 robberies) to cover his hands. In all four of the robberies, the suspect used a firearm

 to threaten the store employees, and the individual actually discharged the firearm

 at least twice in the parking lot during the last robbery on February 26, 2020, at

 Family Dollar. Although the suspect fled, law enforcement recovered a .380 caliber

 spent casing and a projectile (bullet). The evidence was impounded and preserved.

 However, for a long time, law enforcement had no leads.

        That changed in in July 2021, during a routine traffic stop in Collier County,

 Florida, when police seized a Pico Beretta .380 pistol from David Haggins. 1 When

 Haggins was questioned by law enforcement, he claimed that he received the

 firearm from Richard Allen Randolph. Police test-fired the Beretta and submitted

 images to the National Integrated Ballistic Information Network (“NIBIN”)

 database, which compares images of ballistic evidence from shooting scenes to

 recovered firearms for possible matches. The submission generated a lead of a




 1 Collier County is roughly 150 miles from Tampa, Florida, the site of the robberies that

 took place in early 2020.

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 possible association with images submitted after the Family Dollar robbery on

 February 26, 2020, in Tampa.

       The case agent submitted the recovered Beretta, projectile, and cartridge to

 the Bureau of Alcohol, Tobacco, Firearm, and Explosives Forensic Science

 Laboratory in Atlanta, Georgia, for examination. Andrew Pike, a firearm and

 toolmark examiner at the laboratory, examined the submission and concluded that

 the projectile and casing were fired from the Beretta. Specifically, he reported that

 “the probability that the toolmarks on [the projectile and casing] were made by a

 different source, other than [the Beretta], is so small that it is negligible.” A second

 examiner then verified Pike's results. The Government intends to present Pike as

 an expert witness during its case in chief. 2

       To counter Pike’s expected testimony, Defendant indicated his intent to

 present Dean David L. Faigman as an expert witness regarding the “foundational

 validity” and reliability of firearm and toolmark identification. The Government

 now seeks to exclude the testimony of Dean Faigman, arguing that his testimony is

 not relevant, but even if it were, any probative value would be substantially

 outweighed by the danger of confusion, misleading the jury, and unfair prejudice.

                                    Legal Standard

       As recently revised, Rule 702 of the Federal Rules of Evidence provides:

       A witness who is qualified as an expert by knowledge, skill, experience,
       training, or education may testify in the form of an opinion or

 2 On February 28, 2023, Defendant filed his “Motion in Limine to Exclude the Government’s

 Firearm Identification Expert. (Doc. 41). The Court denied the motion on July 17, 2023.
 (Doc. 53). On March 21, 2024, Defendant filed his “Motion to Reconsider Ruling on
 Defendant’s Motion in Limine to Exclude the Government’s Firearm Identification
 Evidence” (Doc. 79), which was orally denied during the trial (Docs. 130; 136).

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       otherwise if the proponent demonstrates to the court that it is more
       likely than not that:

       (a) the expert's scientific, technical, or other specialized knowledge will
           help the trier of fact to understand the evidence or to determine a
           fact in issue;

       (b) the testimony is based on sufficient facts or data;


       (c) the testimony is the product of reliable principles and methods;
           and
       (d) the expert’s opinion reflects a reliable application of the principles
           and methods to the facts of the case.

 Fed. R. Evid. 702 (rev. eff. Dec. 1, 2023); see also Daubert v. Merrell Dow Pharm.,

 Inc., 509 U.S. 579, 597 (1993). “The party offering the expert testimony bears the

 burden of establishing, by a preponderance of the evidence, the expert's

 qualification, reliability, and helpfulness.” Payne v. C.R. Bard, Inc., 606 F. App’x

 940, 942 (11th Cir. 2015) (citing United States v. Frazier, 387 F.3d 1244, 1260 (11th

 Cir. 2004) (en banc)).

       Functioning as a gatekeeper, the district court plays an important role by

 ensuring that all expert testimony is reliable and relevant. Rink v. Cheminova,

 Inc., 400 F.3d 1286, 1291 (11th Cir. 2005). Although Daubert references specific

 factors for the district court to consider when evaluating relevance and reliability,

 the inquiry is a flexible one, focusing on the principles and methodology employed

 by the expert, not on the conclusions reached. Chapman v. Procter & Gamble

 Distrib., LLC, 766 F.3d 1296, 1305 (11th Cir. 2014); see also Hanna v. Ward Mfg.,

 Inc., 723 F. App’x 647, 649-50 (11th Cir. 2018) (outlining the criteria for the

 admissibility of expert witness testimony). At the same time, “conclusions and

 methodology are not entirely distinct from one another,” and “[a] court may

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 conclude that there is simply too great an analytical gap between the data and the

 opinion proffered.” Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997).

       The Eleventh Circuit has recognized that “[b]ecause of the powerful and

 potentially misleading effect of expert evidence, sometimes expert opinions that

 otherwise meet the admissibility requirements may still be excluded by applying

 Rule 403.” Frazier, 387 F.3d at 1263 (internal citation omitted); Edwards v.

 Shanley, 580 F. App’x 816, 823 (11th Cir. 2014). In fact, due to the “talismanic

 significance” of expert testimony in the eyes of jurors, when exercising its important

 gatekeeping function, the district court “must take care to weigh the value of such

 evidence against its potential to mislead or confuse.” Frazier, 387 F.3d at 1263.

                                       Analysis

       Firearm toolmark identification methodology stems from the theory that

 every firearm leaves a unique mark on the bullets that pass through it due to

 random irregularities in firearm manufacturing. The Association of Firearm and

 Tool Mark Examiners (“AFTE”) methodology requires examiners to subjectively

 compare the marks on different bullets for “sufficient agreement” to determine

 whether they came from the same firearm. See United States v. Pete, No. 3:22cr48-

 TKW, 2023 WL 4928523, at *1 (N.D. Fla. July 21, 2023). Specifically, the examiner

 test-fires the firearm in question to obtain a “test bullet” and then compares the

 features on the test bullet, which he knows came from the firearm, to the bullet

 recovered from a crime scene to determine whether that bullet came from the same

 firearm. If there is sufficient agreement, the firearm is considered a match to the

 recovered bullet. See id. In a typical case, a second examiner then independently


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 examines the evidence to verify the first examiner's results. When all is said and

 done, an examiner’s conclusion that a particular firearm matches a particular bullet

 is subjective. See United States v. Romero-Lobato, 379 F. Supp. 3d 1111, 1116 (D.

 Nev. 2019) (“The AFTE itself recognizes that this method is inherently subjective.”).

       As the Court explained in a prior Daubert order in this case pertaining to

 Government expert witness Andrew Pike, courts have “generally allowed firearm

 examiners to testify, without many restrictions, that a bullet found at the scene of a

 crime was fired from a particular gun.” See id. (citing David H. Kaye, Firearm-

 Mark Evidence: Looking Back and Looking Ahead, 68 CASE W. RES. L. REV. 723,

 725-26 (2018)). This type of testimony has been accepted in state and federal courts

 throughout the country for the better part of a century. Jim Agar, The

 Admissibility of Firearms and Toolmarks Expert Testimony in the Shadow of

 PCAST, 74 BAYLOR L. REV. 93, 94 (2022).

       But for the past twenty years or so, some academic commentators, scientists,

 and others have questioned the validity of various types of forensic evidence

 typically admitted in American criminal courts, including fingerprint comparisons,

 handwriting analyses, DNA identification, and firearms and toolmark

 identification. Among other things, this interest in firearm and toolmark

 identification, driven primarily by academic commentators, resulted in a report

 critical of various forensic sciences in 2016 from the President’s Council of Advisors

 on Science and Technology that has come to be known as the “PCAST” report.

 Although this report was almost immediately rejected by the Department of Justice,

 in the wake of this criticism, some courts have questioned the AFTE methodology


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 and have imposed various limitations on firearms expert testimony. 3 See Romero-

 Lobato, 379 F. Supp. 3d at 1116. Yet, it appears that “courts that imposed

 limitations on firearm and toolmark expert testimony [are] the exception rather

 than the rule.” Id. at 1117.

        In this case, Defendant seeks to present expert testimony from David L.

 Faigman, Dean and Professor of Law at the University of California College of Law,

 San Francisco, as to his scholarly opinion on the “foundational validity” and

 reliability of firearm and toolmark identification evidence. Dean Faigman has a

 stellar curriculum vitae, having published many articles concerning different topics

 in various subject matter areas. Scientific evidence has been a continuing point of

 emphasis in his scholarship. Over twenty-five years ago, he wrote a book titled

 Legal Alchemy: The Use and Misuse of Science in the Law (W.H. Freeman & Co.,

 1999). He is also a co-author of a leading treatise in this area. See David L.

 Faigman, et al., MODERN SCIENTIFIC EVIDENCE: THE LAW AND SCIENCE OF EXPERT

 TESTIMONY (West/Thomson Publishing Co., 2023). In his expert report, Dean

 Faigman describes himself as a leading scholar “on the subject of the use of




 3 Speaking on behalf of the Department of Justice, then Attorney General Loretta Lynch

 stated “[w]e remain confident that, when used properly, forensic science evidence helps
 juries identify the guilty and clear the innocent, and the department believes that the
 current legal standards regarding the admissibility of forensic evidence are based on sound
 science and sound legal reasoning. While we appreciate their contribution to the field of
 scientific inquiry, the department will not be adopting the recommendations related to
 the admissibility of forensic science evidence.” Gary Fields, White House Advisory Council
 Report Is Critical of Forensics Used in Criminal Trials, THE WALL STREET
 JOURNAL (Sept. 20, 2016), https://www.wsj.com/articles/white-house-advisory-council-
 releases-report-critical-of-forensics-used-in-criminal-trials-1474394743.



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 scientific research and legal decision making,” and as the “most-cited evidence

 scholar in the nation.” (Doc. 76-2 at ¶ 5).

       Outside of his paper credentials, Dean Faigman has distinguished himself as

 a highly accomplished academic and a respected member of the law faculty at his

 institution, having been selected as Chancellor and Dean of the law school. Specific

 to the field of forensic evidence, he has served as a peer reviewer for the proceedings

 of the National Academy of the Sciences and as a senior advisor to the 2016

 President’s Council of Advisors on Science and Technology, which prepared the

 PCAST report. 4 Beyond the confines of academia, Dean Faigman has spoken and

 lectured on forensic evidence in a variety of forums, including at the National

 Judicial College in Reno, Nevada.

       Dean Faigman clearly has much to say on the general topic of scientific

 evidence. During the hearing on this motion, he tended to give lengthy answers

 that sometimes offered more information than called for by the question.

 Nonetheless, he was personable, professional, courteous, and very knowledgeable.

 As expert witnesses go, his demeanor was superb.

       That being said, it must be recognized that Dean Faigman has never

 conducted a firearms examination and has no experience doing so. He is not a



 4 The PCAST report criticized firearm and toolmark examination techniques, among other

 things. However, the Court notes that following publication of the PCAST report, “multiple
 courts have found that the PCAST Report’s chief concern—that, at the time of its
 publishing in 2016, insufficient studies existed on the validity of [firearm toolmark
 identification]—appears to now be out of date.” United States v. Pete, No. 3:22cr48-TKW,
 2023 WL 4928523, at *4 (N.D. Fla. July 21, 2023) (citing United States v. Harris, 502 F.
 Supp. 3d 28, 38 (D.D.C. 2020)); accord United States v. Cloud, 576 F. Supp. 3d 827, 845
 (E.D. Wash. 2021) (“[S]ubsequent validation[] studies have addressed the most significant
 of the PCAST Report’s concerns.”).

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 practicing experimental scientist and has never conducted an experimental study in

 this area. His expertise in the area comes from his own more general scientific

 education (including a degree in experimental psychology) and his training in law,

 combined with many years spent reading the literature in this specific area and

 teaching, speaking, and writing about the subject. During the hearing on this

 matter, Dean Faigman reiterated that his expertise is based only on his review of

 the research literature, and that his testimony would be about the “whole field” of

 firearm and toolmark identification.

       Dean Faigman is also admittedly not familiar with the specifics of how Pike

 performed his examination and reached his conclusions in this case. To that end,

 Dean Faigman would not provide testimony regarding the specific examination of

 the firearm in this case. Rather, he proposes to testify broadly as a scholar

 concerning the “foundational validity” of firearm and toolmark identification

 evidence in general, focusing on research studies that, as discussed below, may or

 may not be applicable to any issue in this specific case. He admitted that his

 sweeping declaration, provided as his expert report in this case, was a general

 document – not prepared for anything specific to this case – that broadly discusses

 his opinions as to the reliability of present-day firearm and toolmark identification.

 Additionally, a number of the points he makes in his expert report involve legal and

 policy considerations rather than purely scientific concerns. He is not being offered

 as an expert in the same field as Pike, the Government’s expert. Instead, he is

 essentially being offered as an expert in a different but related field.




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         Dean Faigman’s education, research, teaching, speaking, and writing about

  the various criticisms of the field of firearm and toolmark identification certainly

  suggest he might be qualified as an expert within the meaning of Daubert and Rule

  702. This does not mean, however, that his proposed expert opinions in this case do

  not present significant Daubert obstacles. At least one commentator believes the

  type of expert testimony proposed by Dean Faigman would not pass muster under

  Daubert. See Jim Agar, The Admissibility of Firearms and Toolmarks Expert

  Testimony in the Shadow of PCAST, 74 BAYLOR L. REV. 93, 131 (2022). Indeed,

  Dean Faigman has never testified in a federal court as a trial witness in this area. 5

         Here, it is unclear whether Dean Faigman’s proposed testimony could survive

  a Daubert challenge. Even if it could, expert opinions are subject to exclusion on

  other grounds. See Fed. R. Evid. 403 (“The court may exclude relevant evidence if

  its probative value is substantially outweighed by a danger of one or more of the

  following: unfair prejudice, confusing the issues, misleading the jury, undue delay,

  wasting time, or needlessly presenting cumulative evidence.”). As will be discussed

  below, there is a great risk Dean Faigman’s proposed expert testimony will confuse

  the issues, mislead the jury, and result in unfair prejudice. As such, it is

  unnecessary for the Court to delve into the weedy details and nuances of Daubert




  5 According to Dean Faigman, he has testified in federal courts and state courts as part of

  defense pretrial Daubert challenges to government experts, and as a trial witness in state
  courts in California and Oregon. It appears he has been excluded from testifying at trial in
  at least one federal case, although the information provided by the Government does not
  explain that district court’s reasoning. See (Doc. 76-1); United States v. Brown, No. 1:23-cr-
  242-SEG-CMS (N.D. Ga. Jan 19, 2024).

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  and its progeny to decide this motion. The Court will assume, without deciding,

  that Dean Faigman’s proposed expert testimony meets Daubert requirements.

  The Expert Opinions

          The focus of Dean Faigman’s proposed expert opinions, which he has

  articulated in his highly detailed 29-page expert report, is that “mainstream

  academic scientists uniformly question the foundational validity of firearms

  identification.” (Doc. 76-2 at ¶ 133). This general point – the unreliability of

  forensic evidence – has been a theme of Dean Faigman’s academic work, in one form

  or another, spanning at least 25 years and is perhaps why he was selected to be a

  part of the presidential council that resulted in the PCAST report.

        In his expert report, Dean Faigman repeatedly articulates very broad

  challenges to the entire field of firearm and toolmark identification:

        . . . firearms identification opinion evidence is not generally accepted among
        scientists. . . . it is unambiguously clear that mainstream academic scientists
        uniformly question the foundational validity of firearms identification; those
        accepting it are limited to those self-interested in accepting it. ¶ 133
        The core concern of this Declaration involves the question whether firearms
        identification expertise – a subject long assumed to be valid for courtroom use
        – possesses a methodological and statistical foundation adequate to support
        the opinion of expert witnesses in court. ¶ 13

        . . . The firearms expert claims to be able to identify the source of bullets and
        cartridge cases fired in this case. This opinion testimony is not supported by
        scientific studies and the underlying scientific theory and technique are not
        accepted as valid by the relevant scientific community. ¶ 15
        The fundamental proposition of this Declaration is that the validity of
        individualized judgments about the source of bullets or cartridge cases has
        yet to be demonstrated in the research literature. ¶ 116
  (Doc. 76-2). Despite these rather broad pronouncements, at its most basic form,

  Dean Faigman’s ultimate opinion appears to be that the “foundational validity” of

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  firearm and toolmark identification is questionable because the generalized error

  rate offered by firearms experts in general might be understated. He does not say

  the error rate is in fact wrong. Stated differently, he and others in the “mainstream

  academic scientific community” believe there is insufficient data to support the

  error rate offered by firearms experts.

        This ultimate opinion is predicated on specific criticisms of the studies that

  firearms experts have historically relied upon to support their opinions, including:

  (1) the failure to count inconclusive results as errors when calculating the

  generalized error rate, (2) using volunteers as test subjects, (3) high attrition rates,

  or firearm examiners dropping out of the studies after they have begun a study, and

  (4) lack of pre-testing, or not understanding how difficult the identification task

  is. Faigman also criticizes the procedures used by examiners due to cognitive bias,

  or the unconscious or implicit tendency of the firearm examiner to see what he

  expected to see.

        When attempting to fully understand Dean Faigman’s proposed expert

  testimony, it his helpful to emphasize what he is not saying. He is not saying that

  (1) the error rate offered by the firearm expert in this case is in fact wrong; (2) the

  firearms examinations used by firearms experts produce a significant number of

  false positives, thereby helping convict innocent people; or (3) that the firearms test

  performed by the Government expert in this specific case was in any way inaccurate

  or unreliable.




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  Risk of Confusion and Misleading the Jury

         If Dean Faigman were allowed to testify, the Court is convinced his opinions

  would confuse or mislead the jury. During the hearing on this matter, he

  disclaimed any plan to testify in terms of Daubert or other admissibility issues

  during the trial. But he also generally expressed in terms about what Andrew Pike

  can and “cannot” say about whether Pike’s examination resulted in a match, and –

  significantly – on what the trier of fact “can rely on” when considering Pike’s

  testimony and the toolmark evidence. 6 Dean Faigman indicated that he would

  testify that “whatever weight a trier of fact would put on that type of statement

  ought to be discounted and maybe dismissed altogether.” As he put it, “[i]t’s really

  about Daubert. Daubert said the methods and principles underlying the expert

  opinion have to be reliable and valid.”

         One of the most significant issues with the proposed expert testimony is that

  Dean Faigman purports to speak on behalf of the entire scientific community. The

  danger with this testimony, from a witness with Dean Faigman’s experience and

  credentials, is that a jury will give it too much weight, be confused and interpret the

  testimony to mean that the entire scientific community has determined with one-

  hundred percent certitude that firearm identification is definitely unreliable and,

  therefore, the firearm identification evidence in this case should not be believed.



  6 For example, in his report, Dean Faigman identifies the “core concern” of his report as:

  “whether firearms identification expertise – a subject matter long assumed to be valid for
  courtroom use – possesses a methodological and statistical foundation adequate to support
  the opinion of expert witnesses in court.” (Doc. 76-2, at ¶ 13). He states that “the
  operative question is what an expert should be allowed to say, given the state of the art of
  the technique.” (Id. at ¶ 32).

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  Such an interpretation of Dean Faigman’s testimony would be inaccurate and

  unfairly prejudicial to the Government. As noted, Dean Faigman’s expert opinion,

  at bottom, is simply that the error rate offered by firearms experts in general might

  be understated. A broad opinion implying that the entire scientific community has

  determined that toolmark identification is definitely unreliable is very different

  from a narrow opinion that the error rate offered by firearms experts might be

  understated.

         The Court has considered whether it could limit Dean Faigman’s testimony

  in some way to allow him to testify about his concerns with error rates, but after a

  careful review of his expert report and testimony at the hearing in this matter, the

  Court has determined that (1) it would be impossible for Dean Faigman to stay

  within these limitations, and (2) even if limited, his proposed testimony on the error

  rate would also be confusing and risk misleading the jury under the circumstances

  of this case. For instance, Dean Faigman intends to discuss perceived issues with

  the measurement of the generalized error rate to support his opinion that the field

  of toolmark identification lacks foundational validity, discussing this particular

  issue at length. 7 (Doc. 76-2 at 11-21). He opines that “inconclusive” results should

  be included as errors but are currently excluded in the studies supporting the

  validity of firearm and toolmark identification, making it impossible to determine

  what the error rate associated with toolmark identification truly is. 8


  7 Although he levels a few other criticisms at studies supporting the validity of firearm and

  toolmark identification, Dean Faigman testified at the hearing that the error rate was his
  main criticism.
  8 For example, as to one of the studies, Dean Faigman observed that when inconclusive

  results are counted as errors rather than omitted, the error rate produced by the study

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         Whatever the significance of these points in the abstract and for other

  purposes, a discussion regarding the inclusion or exclusion of inconclusive results

  from the calculation of the generalized error rate is not particularly probative with

  respect to the issues in this particular case where government expert Andrew Pike

  will testify that the examination resulted in a match. 9 And Dean Faigman does not

  appear to have much concrete to say about the error rate as it pertains to false

  positive results. See (id.) (recognizing that the Ames Laboratory study considered

  by PCAST reported a false positive error rate of 1.01% but noting that including any

  response other than an exclusion as an error would increase error rate to 33%);

  United States v. Hunt, 63 F.4th 1229, 1240 n.7 (10th Cir. 2023) (finding that “the

  Ames Study’s false-positive rate furnishes the relevant error rate . . . because a false

  positive identification . . . is the type of error that could lead to a conviction based on

  faulty evidence.” (internal quotation omitted)); United States v. Harris, 502 F. Supp.

  3d 28, 39 (D.D.C. 2020) (reviewing eleven studies spanning 20 years with false

  positive rates between 0% and 1.6%).

         To be clear, Dean Faigman does not assert that false positives are somehow

  being underreported nor does he raise any other issues with the error rate

  associated with false positives that are implicated by the facts of this case. By




  increases to “as much as a whopping 53%” for bullets and an “eye-popping 44%” for
  cartridges.
  9 In addition, the Court notes that discussion of a generalized error rate may not even be

  particularly meaningful or probative in this case given the subjective aspects of toolmark
  identification. As reports and studies acknowledge, “error rate largely depends on [an]
  examiner’s training and experience.” See Pete, 2023 WL 4928523, at *5. Dean Faigman
  has not looked at the examination in this case and offers no particularized opinions as to
  any errors possibly made in this case.

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  opining on abstract issues with the generalized error rate and the treatment of

  inconclusive results, as well as a number of other matters discussed in his report

  such as cognitive bias, Dean Faigman very well may confuse or mislead the jury

  that is tasked with considering the credibility of a positive match, including

  whether that result may be a false positive.

        Because of these issues, the Court concludes that Dean Faigman’s proposed

  testimony would be confusing and misleading to the jury. Furthermore, as a

  practical matter, it would be impossible to limit his testimony in a way that would

  prevent this confusion.

  Undue Weight

        The danger of juror confusion would be particularly amplified beyond all

  repair if a witness with Dean Faigman’s status as a law professor, and

  distinguished position within the American legal system, were permitted to offer

  the proposed expert opinions contained in his expert report. When an expert

  witness who can legitimately be characterized as a leading scholar “on the subject of

  the use of scientific research and legal decision making,” and as the “most-cited

  evidence scholar in the nation” makes a broad pronouncement in a trial that

  “mainstream academic scientists uniformly question the foundational validity of

  firearms identification,” it is difficult to imagine how a jury would not give undue

  weight to that testimony. It would be impossible for a jury to question this broad

  pronouncement coming from a law professor and consider the fact that it is mostly,

  if not exclusively, rooted in a concern about underreported error rates. Moreover,

  his framing of various opinions and conclusions in terms that appear to involve


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  legal and policy considerations, rather than purely scientific concerns, would add

  another layer of juror confusion.

        Based on his status and the type of testimony he intends to offer, instead of

  evaluating this testimony fairly and objectively, there is a substantial risk a jury

  will afford it “talismanic significance.” Frankly, it is difficult to imagine an expert

  witness that would be given a greater degree of “talismanic significance” in the eyes

  of a jury on an issue such as this than Dean Faigman. No amount of cross

  examination or limiting instructions from the Court would be effective in clearing

  up this confusion.

        Courts have recognized the danger posed by this type of testimony from this

  type of witness. For instance, in United States v. Taylor, 704 F. Supp. 2d 1192,

  1198-1200 (D.N.M. 2009), the court excluded the expert testimony of a law professor

  who planned to offer criticisms of the entire field of firearm and toolmark

  identification. When excluding this type of witness, the district court in Taylor

  found the Eleventh Circuit’s opinion in United States v. Paul, 175 F.3d 906, 909;

  911-12 (11th Cir. 1999), to be particularly instructive. In Paul, the Eleventh Circuit

  affirmed the exclusion of the testimony of a law professor concerning the limitations

  of handwriting analysis after the district court concluded that such testimony would

  be confusing to the jury.

        Furthermore, Dean Faigman’s status as a law professor is likely to mislead

  the jury when he purports to give non-legal opinions about how much weight the

  jury should give the Government witness’s testimony. As the Eleventh Circuit

  noted, a law professor’s “skill, experience, training and education as a lawyer [do]


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  not make him any more qualified to testify as an expert on [forensic evidence] than

  a lay person who read the same articles.” Paul, 175 F.3d at 912.

         Finally, juror confusion would certainly result if Dean Faigman, as a law

  professor, provided testimony about evidentiary matters such as what the

  Government’s expert may say during his testimony. It is the Court’s duty to

  instruct the jury on what it may or may not rely on, not an expert witness who

  happens to be a law professor. This would, no doubt, cause juror confusion and a

  curative instruction would not remedy this issue.

                                         Conclusion

         When all is said and done, Defendant wants to present an eminent law

  professor – who is himself neither a practicing scientist nor a firearms examiner –

  to offer what amounts to the verdict of what he deems the “scientific community” on

  the reliability of a firearms examination methodology that is more practical and

  observational than purely “scientific,” a methodology regularly accepted by most

  courts throughout the country, including this one, as sufficiently reliable for a jury

  to consider. Ultimately, the risk of confusion and unfair prejudice to the

  Government substantially outweighs the probative value of this proposed testimony.

  It must be excluded at trial pursuant to Federal Rule of Evidence 403. 10




  10 The Court notes that Dean Faigman’s general critiques concerning firearm and toolmark

  identification are certainly appropriate for a pretrial Daubert hearing on the admissibility
  of firearms identification expert opinion testimony. But permitting this testimony during a
  jury trial would serve to confuse and mislead the jury. The Court further notes that many
  of the points that Defendant seeks to illustrate through Dean Faigman’s testimony, such as
  criticisms of the generalized error rate of toolmark examinations due to the treatment of
  inconclusive results, may be made appropriately through vigorous cross examination of the
  Government’s expert.

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        Accordingly, it is

        ORDERED, ADJUDGED, and DECREED:

        (1) The United States’ “Motion in Limine to Preclude Testimony of Defense

            Expert Witness David Faigman” (Doc. 76) is GRANTED.

        DONE and ORDERED in Chambers, in Tampa, Florida, this 19th day of

  April, 2024, nunc pro tunc to April 12, 2024. 11




                                           __________________________________________
                                           TOM BARBER
                                           UNITED STATES DISTRICT JUDGE




  11 On April 12, 2024, the Court entered an order granting the Government’s motion,

  indicating that a written order would follow. (Doc. 115). This Order memorializes and
  explains the Court’s April 12, 2024 ruling.

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